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                        EXHIBIT B
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                                                             EXHIBIT B
                                                     DEFENDANT’S EVIDENCE FOR
                                          RULE 4-3 JOINT CLAIM CONSTRUCTION STATEMENT

              Claim Terms                          Funimation’s Constructions                        Funimation’s ID of Supporting Intrinsic and
                                                                                                                 Extrinsic Evidence 1
    “A computer-implemented                All claims require that any enticement                Intrinsic Evidence:
    method comprising” (preambles          received or transmitted must only occur after
                                                                                                     •   All claims of the ’999 Patent
    of claims 1, 18)                       the broadcast so that the broadcast is not
                                           interrupted                                               •   ’999 Patent, 1:13 – 3:16, 3:63 –5:10, 6:48-67;
    “A computer comprising”
                                                                                                         Abstract; Figs. 1-8
    (preamble of claim 10)
    “A system comprising” (preamble                                                                  •   Prosecution history of the ’999 Patent: Office
    of claim 27)                                                                                         Action mailed 8/4/2017, Amendment dated
                                                                                                         12/21/17
    “receiving an enticement based on      All claims require that any enticement
    the embedded information, the          received or transmitted must only occur after             •   All claims of related U.S. Patent No.
    viewing information, user              the broadcast so that the broadcast is not                    8,316,390
    information retrieved based on the     interrupted                                               •   Prosecution history of related U.S. Patent No.
    user identifier, and a sponsor of         -   receiving an enticement must only                      8,316,390: originally filed claims; all Office
    the time slice corresponding to                                                                      Actions; all responses; all amendments; all
                                                  occur after the broadcast so that the
    the sponsor identification” (claim                                                                   RCEs; all appeal, answering and reply briefs;
                                                  broadcast is not interrupted (claim 1)
    1)                                                                                                   notice of allowability.
                                              -   the receiver receiving an enticement
    “the receiver further configured to                                                          Extrinsic Evidence:
                                                  must only occur after the broadcast so
    receive an enticement based [on]
    the embedded information, the
                                                  that the broadcast is not interrupted              •   Declaration of Dr. Benjamin Goldberg
                                                  (claim 10)
    viewing information, user
    information retrieved based on the        -   transmitting the enticement must only
    user identifier, and a sponsor of             occur after the broadcast so that the
    the time slice corresponding to               broadcast is not interrupted (claim 18)



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  This column provides Funimations’s Rule 4-3(a)(2) identification of all references from the specification or prosecution history that support that
position, and an identification of any extrinsic evidence known to the party on which it intends to rely either to support its position or to oppose any
other party’s position, including, but not limited to, as permitted by law, dictionary definitions, citations to learned treatises and prior art, and
testimony of percipient and expert witnesses.


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                                                          EXHIBIT B
                                                  DEFENDANT’S EVIDENCE FOR
                                       RULE 4-3 JOINT CLAIM CONSTRUCTION STATEMENT

          Claim Terms                           Funimation’s Constructions                 Funimation’s ID of Supporting Intrinsic and
                                                                                                      Extrinsic Evidence 1
the sponsor identification” (claim         -   the controller transmitting the
10)                                            enticement must only occur after the
                                               broadcast so that the broadcast is not
“transmitting the enticement
                                               interrupted (claim 27)
based on at least one of: the
embedded information, the
viewing information, the user
information, and a sponsor of the
broadcast” (claim 18)
“transmit the enticement based on
at least one of: the embedded
information, the viewing
information, the user information,
and a sponsor of the broadcast”
(claim 27)
“user identifier” (claims 1, 10, 18,    data used to identify a particular user         Intrinsic Evidence:
27)
                                                                                           •   All claims of the ’999 Patent
                                                                                           •   ’999 Patent, 2:24-44, 2:63 – 3:16, Abstract;
                                                                                               Figs. 1-8
                                                                                        Extrinsic Evidence:
                                                                                           •   Declaration of Dr. Benjamin Goldberg




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                                                         EXHIBIT B
                                                 DEFENDANT’S EVIDENCE FOR
                                      RULE 4-3 JOINT CLAIM CONSTRUCTION STATEMENT

          Claim Terms                          Funimation’s Constructions                   Funimation’s ID of Supporting Intrinsic and
                                                                                                        Extrinsic Evidence 1
“user information” (claims 1, 10,      Indefinite under pre-AIA 35 U.S.C. § 112 ¶ 2     Intrinsic Evidence:
18, 27)                                and/or lacks written description support under
                                                                                           •   All claims of the ’999 Patent
                                       pre-AIA 35 U.S.C. § 112 ¶ 1.
                                                                                           •   ’999 Patent, 2:37-40
                                       In the alternative, to the extent found not
                                       indefinite and supported, then:                     •   ’999 Patent, 1:6 – 7:13; Abstract; Figs. 1-8
                                       information for a particular user                   •   Prosecution history of ‘999 Patent: Office
                                                                                               Action of December 30, 2016; Amendment of
                                                                                               June 30, 2017
                                                                                        Extrinsic Evidence:
                                                                                           •   Declaration of Dr. Benjamin Goldberg
“sponsor identification” (claims 1, data that identifies a sponsor of a time slice      Intrinsic Evidence:
10, 18, 27)
                                                                                           •   All claims of the ’999 Patent
                                                                                           •   ’999 Patent, 3:65 – 4:13; 5:29 – 6:67, 7:1-13;
                                                                                               Abstract; Figs. 1-8
                                                                                        Extrinsic Evidence:
                                                                                           •   Declaration of Dr. Benjamin Goldberg
“time slice” (claims 1, 10, 18, 27)    a portion of time of a complete broadcast        Intrinsic Evidence:
                                       (e.g., a 15-minute interval of a one-hour
                                                                                           •   All claims of the ’999 Patent
                                       broadcast)
                                                                                           •   ’999 Patent, 5:29 – 6:47; Abstract; Figs. 1-8
                                                                                        Extrinsic Evidence:
                                                                                           •   Declaration of Dr. Benjamin Goldberg




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                                                         EXHIBIT B
                                                 DEFENDANT’S EVIDENCE FOR
                                      RULE 4-3 JOINT CLAIM CONSTRUCTION STATEMENT

          Claim Terms                          Funimation’s Constructions                     Funimation’s ID of Supporting Intrinsic and
                                                                                                          Extrinsic Evidence 1
“end-of-slice marker that signals      flag that signals the end of a time slice          Intrinsic Evidence:
the end of a time slice” (claims 1,
                                                                                             •   All claims of the ’999 Patent
10, 18, 27)
                                                                                             •   ’999 Patent, 5:29 – 6:47, Abstract, Figs. 1-8
                                                                                          Extrinsic Evidence:
                                                                                             •   Declaration of Dr. Benjamin Goldberg
“enticement” (claims 1, 10, 18,        advertisement, coupon, discount, contest or        Intrinsic Evidence:
27)                                    other inducement
                                                                                             •   All claims of the ’999 Patent
                                                                                             •   ’999 Patent, 1:67 – 3:16, 4:2-8, 4:21-28, 4:52-
                                                                                                 58, 5:4-10, Abstract, Figs. 1-8
                                                                                          Extrinsic Evidence:
                                                                                             •   Declaration of Dr. Benjamin Goldberg
“the data comprising at least one      the data must include at least one of all listed   Intrinsic Evidence:
of a TV channel, content name,         items, namely the data must include at least
                                                                                             •   All claims of the ’999 Patent
timestamp, time slice, and             one TV channel, at least one content name, at
sponsor identification” (claims 1,     least one timestamp, at least one time slice,         •   ’999 Patent, 2:6 – 3:16, 5:29 – 6:67; 7:1-13,
10, 18, 27)                            and at least one sponsor identification                   Abstract, Figs. 1-8
                                                                                          Extrinsic Evidence:
                                                                                             •   Declaration of Dr. Benjamin Goldberg




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